                            IN THE UNITED STATES COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN


JEFFREY E. GODWIN, AND OAKYWOOD
FARMS, LLC,

                Plaintiffs,
                                                       Case No.: 19-cv-766
   v.

CNH INDUSTRIAL AMERICA, LLC,

                Defendant.


                                         COMPLAINT

        Plaintiffs Jeffrey E. Godwin and Oakywood Farms, LLC (collectively “Oakywood Farms”)

files this complaint against CNH Industrial America, LLC (“CNH”). In support thereof, Plaintiffs

state the following:

                                       INTRODUCTION

        1.      CNH is the American subsidiary of a global Dutch conglomerate that manufacturers

agricultural equipment. For years, CNH has carried out a deceptive, unfair, and unlawful scheme

to induce farmers to purchase $500,000 Module Express cotton pickers which it knows to be

fundamentally flawed and which cannot reliably the perform the very task for which they are

designed: picking and building cotton modules in one piece of equipment.

        2.      CNH claimed that the Module Express represented a revolution in cotton

harvesting: a single piece of equipment that could both pick cotton and pack it into modules. But

CNH rushed its picker to market, intent on beating John Deere (which was also designing a picker-

baler) and increasing its share of the American cotton market. CNH knew that its Module Express

pickers suffered from fundamental design defects—including problems with the power, hydraulic,

module packing, and software systems—and continual, crippling manufacturing process failures,



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and that this incredibly expensive piece of farm equipment would never function correctly.

        3.      Despite this knowledge, CNH carried out a methodical scheme to falsely represent

specific characteristics of the Module Express with the intent and effect of inducing unsuspecting

farmers into buying them. After farmers purchase a Module Express picker (and invariably face

repeated mechanical failures) CNH deliberately misrepresents the nature of the problem as fixable

and isolated, causing farmers to keep their pickers, trade in for “new model” pickers, and not

realize their legal claims.

        4.      CNH buys back previously-sold Module Express pickers that have proven to be

effectively useless at hugely deflated prices. It then takes these pickers—which it knows cannot

successfully operate to pick and bale cotton—and re-sells them to other farmers, based upon false

representations that they are fully operational and reliable. It does so without disclosing the glut

of failures and repair claims that these specific machines experienced, and by making specific

representations as to their operability.

        5.      Further, CNH has consistently failed to provide the parts and service necessary for

repairs while preventing farmers from having access to the manuals and parts necessary to attempt

to fix the Module Express pickers outside of the CNH network.

        6.      Through its deliberate, pernicious conduct, CNH has caused millions of dollars of

harm to cotton farmers who often cannot absorb such losses without catastrophic effects to their

livelihoods.

        7.      Plaintiffs are among the many farmers who have been harmed through CNH’s

conduct, and have incurred individual damages, including consequential damages (such as lost

revenue and profits; increased repair, labor, replacement part and fuel expenses; lost opportunity;

and lost harvests




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                                 JURISDICTION AND VENUE

        8.       This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d).

Diversity jurisdiction exists as Defendant is a citizen of a state other than the state of which

Plaintiff is a citizen. Plaintiff seeks more than $75,000, and has a good faith basis to believe that

more than $75,000 is at issue in this case. Plaintiff seeks attorneys’ fees, direct and indirect

pecuniary and monetary damages, and a refund of purchase prices. Module Express pickers sell

for as much as $500,000 each. In addition to damages recoverable in any class action currently on

file related to the Module Express pickers, Plaintiff seeks more than $75,000 in this action.

        9.       Venue in this case is proper under 28 U.S.C. § 1391 and 28 U.S.C. § 1441 in the

United States Court for the Eastern District of Wisconsin in that a substantial portion of

Defendant’s conduct which forms the basis of this action occurred in this judicial district.

Defendant has its corporate headquarters in this district and the deceptive conduct at issue

emanated from this judicial district. Defendant received, and continues to receive, substantial

revenue from its unlawful conduct in this judicial district. Defendant is subject to personal

jurisdiction in this judicial district at the time this action was commenced and is deemed to reside

in this judicial district.

                                             PARTIES

        10.      Plaintiff Jeffrey Godwin is a resident of Georgia. He is a member and principal of

Oakywood Farms, LLC, a Georgia limited liability company. Oakywood Farms is a family farm

that produces cotton and other crops.

        11.      Defendant CNH Industrial America LLC is a foreign corporation with its principal

place of business in Racine, Wisconsin. It is a wholly owned subsidiary of CNH Industrial NV, a

Dutch-based capital goods company with annual revenues greater than $25,000,000,000. CNH




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designs, markets, manufactures and sells the Case Module Express cotton pickers at issue in this

case.

        12.      CNH’s corporate offices in Racine, Wisconsin operate as the “nerve center” of its

business activities and the full extent of its operations are controlled from this location, including

all major marketing, design, and manufacturing decisions relevant to the allegations in this

Complaint. The misrepresentations alleged herein were “made” in Wisconsin in that CNH caused

them to exist from its corporate headquarters in Racine, Wisconsin. As set out below, CNH has

engaged in a company-wide scheme to cause cotton farmers to buy faulty and ineffective pickers

through false and misleading statements, and this scheme arose in and was controlled from the

CNH headquarters in Racine, Wisconsin.

        13.      CNH sells and services Module Express pickers through a network of captive

dealers over which it exercises a high degree of control. CNH used these dealers to disseminate

and reiterate its false statements to farmers, and to set the prices for new and used Module Express

pickers. Upon information and belief, CNH transferred used, malfunctioning pickers between

captive dealers to sell them to farmers in other geographic locations who were not familiar with

the failings of those specific machines, through a contractual “transfer program.” CNH closely

monitored and controlled its dealers partly through a centralized computer system called the Case

Communication Network. CNH sets prices for Module Express pickers sold by dealers through

“price lists” which it unilaterally sets and which dealers are contractually required to follow.

        14.      Cotton farmers often have a close relationship with the salesmen employed as

agents of their CNH dealers and rely upon these employees to provide specific recommendations

as to equipment suitable for their needs. Generally, a single dealer will dominate a region and

farmers will be highly dependent on that dealer for equipment and repair. Dealers have far greater




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knowledge of the equipment available. Often, farmers and dealers are located in the same small

communities and have regular interactions. The transactions between CNH, through its dealers

and agents, and farmers, including Plaintiff, are not arms-length transactions.

                                    FACTUAL ALLEGATIONS

          15.      In late 2012, Oakywood Farms needed an additional cotton picker for an

unexpectedly large cotton crop. Oakywood Farms had a traditional John Deere picker, boll buggy

and module builder in operation, but needed more picking and module building capacity. Because

Oakywood had a shortage of available farm laborers, it was particularly interested in a picking

system that would expand its harvesting capabilities without requiring additional labor.

          16.      Oakywood Farms approached salespersons working for AimTrac, at AimTrac’s

Camilla, Georgia location to discuss leasing a new cotton picker. AimTrac is a captive CNH dealer

and, at all relevant times, it and its employees were agents of CNH.

          17.      CNH’s primary marketing claim for the Module Express was “One Man, One

Machine,” emphasizing the specific cost savings, efficiency, and effectiveness of the picker. In its

promotional video CNH stated:

          “The Case ME builds industry compatible modules while it moves down the row. That
          eliminates both the boll buggy and the module builder. It also eliminates the tractors
          associated with them, the fuel to run them, and the labor costs that go with all of them.
          With the Module Express, cotton picking is truly a one man one machine operation, and it
          can pick more cotton in a day than a 6-row basket picker.” 1

          18.      CNH further claimed that, by buying the Module Express over a traditional basket

picking operation, farmers would be “reducing your harvest expenses by more than 25%,”2 and




1
 Case IH Module Express 625 promo video, available at:
https://www.youtube.com/watch?v=vAWxKA8Ahho
2
    Id.


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that the Module Express reduces capital and labor, and delivers more cotton faster at harvest time.

       19.      AimTrac salesman Graham Ginn, echoing the language and claims of CNH’s

marketing literature, explained to Godwin that the Case Module Express 635 would pick six rows

of cotton and, using an onboard system, form it into modules – all in only one machine.

       20.      Ginn further claimed that CNH financing would allow Oakywood Farms to

purchase a Case Module Express 635 for less than it would cost to lease it.

       21.      The module-building capability of the Case Module Express 635 was particularly

important to Oakywood Farms, as it would allow it to harvest its extra cotton by purchasing only

one new piece of equipment – as opposed to three, as a traditional cotton-harvesting system would

require. It would also reduce the manpower needed to operate the additional equipment, which

was a critical factor for Oakywood Farms.

       22.      CNH sales representatives at AimTrac, again echoing CNH’s claims in its

marketing materials, told Oakywood Farms that the Case Module Express 635 was the most

efficient cotton-harvesting package on the market, that the Module Express was the most profitable

way to harvest cotton, and that the Module Express would reduce Oakywood Farms’ equipment

and labor investment while streamlining the harvest process.

       23.      Relying on CNH’s representations, including those made by the CNH AimTrac

salesman that the model 635 would efficiently pick cotton and build modules all in one machine,

Oakywood Farms decided to move forward with purchasing a previously-sold model 635 Module

Express for $460,000.

       24.      Oakywood Farms took delivery of the Module Express 635 and began harvesting

with it. Thereafter, the 635 consistently failed to build modules properly: the modules were loosely

packed and would often fall apart, scattering cotton and rendering them effectively useless.




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       25.      Oakywood Farms reported its problems with the 635’s inability to build proper

modules to the CNH dealer, AimTrac. Instead of acknowledging that this 635 had suffered from

this exact same problem in the hands of its prior owner – which had terminated its interest in the

635 after only a year – AimTrac sent a mechanic to Oakywood Farms to purportedly “service” the

635. AimTrac was again unable to get the 635 to properly build cotton modules.

       26.      CNH sales and service personnel continued to offer various theoretical solutions

and to assure Oakywood Farms that the 635 could be fixed and to deter it from taking action, even

going so far as to send Oakywood Farms pictures of cotton modules it claimed were built by other

Case 635s to assure it that his 635 could, in fact, operate as promised. At no point during this time

did CNH or AimTrac acknowledge that the 635 had suffered from this exact problem under its

prior owner or that the picker design and manufacture was fundamentally flawed.

       27.      Approximately two weeks after delivering the Case 635, and AimTrac

representatives presented Oakywood Farms with a set of documents to sign while Godwin was

working in the field. Godwin did not receive a copy of the documents.

       28.      Oakywood Farms’ Module Express 635 continued to experience problems in

picking and building modules, while AimTrac continued to attempt to “repair” it. After continued

failures, AimTrac contacted CNH technicians directly for assistance. CNH sent a team of

technicians from Wisconsin to Georgia, where after nearly a week, they were unable to make

Oakywood Farms’ model 635 build serviceable cotton modules.

       29.      Ultimately, after these repeated failures, Oakywood Farms was forced to hire two

additional employees to help collect the cotton that was falling out of the Module Express 635’s

poorly-built cotton modules.

       30.      After two unsuccessful harvesting seasons and a continuous series of malfunctions




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and poor performance from the Module Express 635, and despite CNH and AimTrac’s repeated

assurances that the Module Express could be repaired to a state where it would pick and build

serviceable modules, representatives of AimTrac and CNH met Godwin at AimTrac’s Camila,

Georgia dealership to discuss a potential resolution to Oakywood Farms’ continued problems with

the 635. While there, a CNH representative pleaded with Godwin to keep the Module Express at

Oakywood Farms’ and made continued assurances that CNH would be able to get the picker

working properly.

       31.      After years of continuous malfunctions and broken promises from CNH and

AimTrac, Oakywood Farms returned the picker to AimTrac and considered the matter closed. It

was not until later that Godwin learned that CNH maintained that he owed $330,000 for the flawed

and failed picker. It was not until March 2019 that Godwin learned of the substance and extent of

CNH’s wrongful conduct that gives rise to this lawsuit, including that the entire production run of

Module Express 635s suffered from significant problems prior to his purchase, that the 635s as a

whole are flawed and poorly manufactured, and that CNH was in the practice of re-selling

previously used, flawed 635s to unsuspecting purchaser.

                           CNH’s Unlawful And Deceptive Scheme

       32.      The problems that Oakywood Farms experienced with the CNH Module Express

pickers are part of a much larger, wide-spread unlawful course of conduct through which CNH

marketed and sold faulty pickers to farmers and the public through intentional deceptive conduct.

       33.      Since the 1940’s, cotton has been harvested using three pieces of machinery: a

mechanical picker (which collects the cotton off the plants), a boll buggy (which transfers the

cotton from the picker to the module builder), and a module builder (which compacts the cotton

into large rectangular shapes that maintain structure and can be transferred to the gin for




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processing). The importance of reliable, effective harvesting equipment in the cotton farming

industry cannot be overstated. Cotton can only be harvested during certain weather conditions and

during a certain temporal window, usually less than a month long. If cotton is not harvested during

these narrow windows, farmers incur immense losses.

       34.      In the late 1990’s, the world’s two largest manufacturers of agricultural equipment

– CNH and John Deere – separately began development of pickers that purportedly would allow

cotton farmers to harvest cotton using a single piece of machinery. This “on-board module-

building” type picker would, theoretically, both pick cotton and compact it into a module without

the need for a buggy and stand-alone module builder. The cotton industry and cotton farmers

considered this to be a potentially revolutionary change; it would represent a leap in efficiency and

cost-savings for famers who were increasingly seeing profit shrink in the face of foreign

competition.

       35.      CNH and its subsidiaries had long made cotton pickers and were locked in a battle

with John Deere, the largest manufacturer of agricultural equipment, for a greater share of that

market, particularly in the United States. Deere had begun development of its picker-baler years

before CNH, filing for a patent in 1999, two years before CNH sought a patent for its on-board

module-building picker.3 But CNH looked to reap enormous gains if it could beat Deere to market

with its new on-board module building picker.

       36.      Upon information and belief, at the time it began to bring its first onboard module-

building picker to market, CNH knew that its new picker’s design and manufacture suffered from

inherent flaws, inadequate quality and process control, insufficient testing and troubleshooting,



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  Notably, CNH appears to have since let its 2001 patent for the Module Express packing system
lapse, and has rather filed patents for alternative packing systems; essentially recognizing that the
system it sold to farmers as workable is untenable.


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and manufacturing failures, such that its Module Express picker would never operate correctly.

CNH also knew that attempting to resolve these problems prior to releasing the picker would

require fundamental changes and significant delay. Delay of that magnitude would erase CNH’s

competitive advantage from beating Deere to market, and allow Deere to dominate the market

before CNH could introduce its new picker. And so, upon information and belief, CNH made a

financial decision to push its picker to market first, although the picker it would market and sell

was irreparably flawed.

       37.     In October 2006, CNH introduced its new picker, the Case Module Express 625.

The Module Express, as represented, was designed to pick cotton at more than three miles per

hour, while at the same time forming the picked cotton into a rectangular module that could be

deposited in the field. The rectangular module it was to create was 8 feet by 8 feet by 16 feet, half

the size of a traditional cotton module, and up to 10,000 pounds in weight. Purportedly, a new

auger system and software in the module building section of Module Express would pack the

cotton such that it would hold together when deposited in the field, allowing the module to be

manually covered with a tarp and later transferred to the gin. This would allow cotton famers to

trade in their current picker, buggy, and module builder for a single piece of equipment which

would accomplish all three tasks more quickly, more efficiently, and with less labor and operating

costs than previously.

       38.     CNH priced the Module Express at nearly $500,000. This is far more expensive

than a traditional picker, and CNH priced it with the intent of capturing much of the purported cost

savings CNH promised farmers they would see through the “revolutionary” Module Express. In

approximately 2012, CNH changed the model number of the Module Express to 635. Upon

information and belief, CNH implemented the model number change, not as a legitimate




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delineation between substantively different pickers, but as part of CNH’s larger scheme to control

fallout from the faulty 625 designation through rebranding, much like when Ford sold rebranded

Pintos as Bobcats. CNH used the rebranding to convince farmers to buy a “new” 635 picker that

purportedly would not have the same flaws.

       39.       As discussed below, the CNH carried out a consistent scheme to deceptively market

and sell the Module Express. CNH made specific, factual representations that were wholly untrue

with the intent and effect of inducing farmers to purchase Module Express pickers. The Module

Express is hugely flawed; a result of deep-set manufacturing failures and defective design, that

CNH rushed to market and sold to unsuspecting farmers knowing that it would never operate as

promised. CNH sold these pickers based upon misrepresentations, then falsely assured farmers

that “patches” and fixes were coming that would fix the unfixable machine. CNH knew that it

would not provide the parts, manuals, and service necessary for farmers to maintain and repair the

pickers while representing otherwise. When farmers would trade in their Module Express pickers

(often as the result of false statements that the “new” pickers were substantially different and would

not suffer from the same flaws), CNH would take those inoperable machines, and resell them to

other unsuspecting farmers at huge markups based upon false statements that these used pickers

were operable.

       40.       Thus, farmers who CNH induced to buy a Module Express, with promises of huge

gains in efficiency and cost savings, have been left with a what, as one farmer put it, ultimately is

a “400,000 dollar bird nest.”

I.     CNH Issued Materially False Statements Emanating From Wisconsin To Sell
       Defective Pickers.

       41.       CNH has consistently made statements regarding the Module Express pickers

which are untrue, deceptive and misleading, with the intent and effect of inducing farmers into



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buying an incredibly expensive—and important—piece of equipment that would not operate as

promised and which would be worth far less than it should be after purchase.

       42.     CNH engaged in its marketing scheme through a coordinated, centralized effort in

its headquarters in Racine, Wisconsin. CNH executives located there determined how to market

and represent the Module Express, and disseminated those materials to the public, often through

press filings and uniform marketing documents distributed to captive dealers (and in turn to the

public) that sold CNH equipment. All representations alleged herein were “made” in Wisconsin

in that they were caused to exist form CNH’s headquarters in Racine, Wisconsin.

       43.     Although CNH used multiple avenues to disseminate false, misleading, and

deceptive representations, the singular narrative thread among all representations was that the

Module Express was a reliable machine that was powerful and could operate in all conditions, that

it would both pick cotton and build consistent, well-formed cotton modules, and that it was the

most efficient and profitable way to harvest cotton. None of this was true.

       44.     CNH began its deceptive marketing scheme to the public in 2006, with an unveiling

of the Module Express at a circus tent it erected in Mississippi, and continued it throughout the

production and sale of the Module Express to the present.

       45.     Among the deceptive representations made by CNH in public statements, including

in marketing brochures, press releases, statements on CNH’s website, and form statement by CNH

dealers, were the following:

               Specific Representations That The Module Express Was Designed And
               Constructed With Sufficient Power To Accomplish Specific Tasks In Diverse
               Conditions

                  that the “Module Express harvests just as effectively on wet or dry ground” 4

4
  See July 11, 2007 CNH public press release, available at http://www.marketwired.com/press-
release/cutting-edge-cotton-harvester-rolls-off-the-line-nyse-cnh-750508.htm.


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                   that the Module Express has “the power to pick in the toughest conditions” 5

                   that the Module Express is “powerful, pulling through wet, uneven soil with no
                    trouble at all”6

                   that the Module Express “has the power to handle picking in the toughest
                    conditions…” 7

                   that the Module Express “can harvest in difficult conditions as easily as it does
                    on dry land.” 8 9


                Specific Representations That The Module Express Is More Efficient And
                Profitable Than Traditional Equipment

                   that the “[c]ost savings with the Module Express total 25% compared with
                    traditional cotton harvesting methods…” 10

                   that “when it comes to cost per acre, nothing beats a Module Express” and the
                    Module Express “offers unequaled cost-per-acre savings” 11

                   that the Module Express will “[m]aximize your ROI with industry-leading




5
  2009 CNH website, available at https://web.archive.org/web/20081115050612/http://
www.caseih.com/products/series.aspx?seriesid=2880&navid=105&RL=ENNA
6
    Module Express Brochure, 2011-2018.
7
 See June 21, 2007 CNH public press release, available at https://www.farmprogress.com/cases-
new-board-module-builder-technology.
8
  2015 CNH website, available at https://web.archive.org/web/20151021060133/http://
www.caseih.com/northamerica/en-us/products/harvesting/module-express-cotton-pickers
9
   2017 and 2018 CNH website, available at https://www.caseih.com/northamerica/en-
us/products/harvesting/module-express-cotton-pickers
10
   See July 11, 2007 CNH public press release, available at http://www.marketwired.com/press-
release/cutting-edge-cotton-harvester-rolls-off-the-line-nyse-cnh-750508.htm.
11
     Module Express Brochure, 2011-2018.



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                    picking efficiency” 12

                   that the Module Express is the “most efficient cotton-harvesting package
                    available” 13

                   that the Module Express is the “most profitable” way to harvest cotton. 14

                   that the Module Express “picks cotton at maximum efficiency…dramatically
                    reducing a cotton producer’s equipment and labor investment while
                    streamlining the harvest process.” 15 16 17

                Specific Representations That The Module Express Would Produce
                Consistent, Well-Formed, Weatherable Cotton Modules

                   that the Module Express will create “consistent domed [rectangular] modules
                    for excellent weatherability and ginning” 18 19 20

                   that the Module Express packing system is “fine-tuned to create consistent,


12
  See June 21, 2007 CNH public press release, available at https://www.farmprogress.com /cases-
new-board-module-builder-technology.
13
   See June 21, 2007 CNH public press release, available at
https://www.farmprogress.com/cases-new-board-module-builder-technology.
14
     Module Express Brochure, 2011-2018.
15
  2009 CNH website, available at https://web.archive.org/web/20081115050612/http://
www.caseih.com/products/series.aspx?seriesid=2880&navid=105&RL=ENNA
16
  2015 CNH website, available at https://web.archive.org/web/20151021060133/http://
www.caseih.com/northamerica/en-us/products/harvesting/module-express-cotton-pickers
17
    2017 and 2018 CNH website, available at https://www.caseih.com/northamerica/en-
us/products/harvesting/module-express-cotton-pickers
18
  2009 CNH website, available at https://web.archive.org/web/20081115050612/http://
www.caseih.com/products/series.aspx?seriesid=2880&navid=105&RL=ENNA .
19
  2015 CNH website, available at https://web.archive.org/web/20151021060133/http://
www.caseih.com/northamerica/en-us/products/harvesting/module-express-cotton-pickers
20
    2017 and 2018 CNH website, available at https://www.caseih.com/northamerica/en-
us/products/harvesting/module-express-cotton-pickers



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                    domed modules for excellent weatherability and ginning” 21

                   that the Module Express will create “consistent domed modules for excellent
                    weatherability” 22

                Specific Representations That The Module Express Does Not Require More
                Maintenance That Traditional Equipment, Was Well-Built, And Reliable

                   that the “productivity gains don’t add maintenance” and the Module Express
                    “requires less maintenance than a traditional basket picker” 23

                   that the Module Express “requires less daily maintenance than a traditional
                    basket picker” 24 25

                   that the Module Express packing system “is proven to work year after year.”

                   that the Module Express build and design allows for a “quicker start in harvest
                    season” and allows farmers “to finish earlier in the season.” 26

         46.    Notably, CNH’s representations were specific and meaningful, designed to induce

Plaintiff to purchase the faulty Module Express pickers. These were not representations of opinion

on a matter of judgment or puffery—e.g. that the Case picker was the “smarter choice” or the

“best”—but rather representations of fact that may be objectively proven as false and which



21
   See June 21, 2007 CNH public press release, available at
https://www.farmprogress.com/cases-new-board-module-builder-technology.
22
     Module Express Brochure, 2006-2011.
23
   See July 11, 2007 CNH public press release, available at http://www.marketwired.com/press-
release/cutting-edge-cotton-harvester-rolls-off-the-line-nyse-cnh-750508.htm.


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  2015 CNH website, available at https://web.archive.org/web/20151021060133/http://
www.caseih.com/northamerica/en-us/products/harvesting/module-express-cotton-pickers
25
    2017 and 2018 CNH website, available at https://www.caseih.com/northamerica/en-
us/products/harvesting/module-express-cotton-pickers
26
     Module Express Brochure, 2011-2018.



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Plaintiff will prove as false. These representations have specific meanings within the cotton

industry. Industry usage and context confirms that CNH’s representations in selling the Module

Express are measurable, quantifiable metrics which can be proven false.

       47.     Additionally, CNH failed to disclose material facts that it was under a duty to

disclose to Plaintiff. 27 Among these omissions was the failure to disclose that the Module Express

was a product of unresolved design flaws and a faulty manufacturing process, that the Module

Express power, compacting, and software systems were not sufficient to create consistent,

weatherable modules or to operate in varied terrain or weather environments, that the Module

Express was not sufficiently reliable to be a sole method of harvesting cotton, and that the cost to

own and operate the Module Express was far greater than alternatives.

       48.     These specific representations made by CNH from its Wisconsin headquarters to

the public, including Plaintiff, were false, deceptive, and misleading. The Module Express pickers

that Plaintiff purchased failed to operate as CNH promised. They failed and broke down in the

field quickly and often, needed continual repairs, and were not reliable enough such that Plaintiff

can use them throughout a cotton harvest. The Module Express did not have sufficient power to

pick cotton in diverse terrain or weather; it broke down, bogged down, and elements related to the

hydraulic system failed or got stuck. The module packing system failed to create consistent,

domed, rectangular modules that will hold together and be weatherable. The Module Express did

not save Plaintiff time or money, particularly when the precipitous loss of value of the machines

is taken into account. Nor is it the most efficient or cost-effective method of harvesting cotton;




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   Omissions are not in themselves actionable under the WDTPA, but they are relevant to such
claims. Plaintiffs’ WDTPA claim is not based upon omissions, but as to specific
misrepresentations that will be proven to be false. The omissions are relevant in this determination
as recognized by precedential law, as well as to Plaintiff’s common law claims.


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Plaintiff routinely was forced to borrow, lease, or buy alternative means of harvesting cotton

during a harvest simply to protect their investment in the field. The cost-per-acre of using a

Module Express was much higher than using comparable equipment from other manufacturers (or

even using non-module building pickers). CNH sold the Module Express to Plaintiff as a

“revolutionary” picker that was powerful and reliable, and which would save Plaintiff time and

money and lead to a greater return on their investment. This was untrue, deceptive, and, upon

information and belief, CNH knew it to be so, but acted intentionally and aggressively to continue

to sell the high-priced Module Express pickers to unsuspecting farmers and to falsely claim that

previous problems had been remedied.

       A.      The Module Express Pickers Have Significant Design And Manufacturing
               Defects.

       49.     The Module Express pickers have significant design and manufacturing failures.

CNH, upon information and belief following investigation, pushed the Module Express to market

knowing that it had significant design flaws, particularly in the hydraulic, power, and module

forming components. Such flaws manifest themselves often in a lack of sufficient power to operate

in diverse terrain and weather conditions and lead to consistent eventual failures and break-downs

in the Module Express pickers. CNH attempted to remedy some of these issues through multiple

software patches, but was unable to do so.

       50.     Further, CNH experienced continual and widespread manufacturing failures at the

plant in which the Module Express pickers are made. All Module Express pickers in the United

States were manufactured at a plant CNH owns and operates in Benson, Wisconsin. From the

beginning of the Module Express production, and consistently to this day, the Benson plant has

had widespread problems with the manufacturing, workmanship, and assembly of Module Express

pickers that caused the pickers to be faulty and to break down quickly and continually in the field.



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Upon information and belief, CNH was well-aware of the problems with implementing and

controlling an effective manufacturing processes for the Module Express and repeatedly changed

management at the Benson plant to try to correct them, but was unable to correct the design and

manufacturing flaws that persist to this day with the Module Express pickers.

II.    CNH Misrepresented Module Express Pickers That Had Proven To Be Inoperable
       As Functional Pickers And Resold Them.

       51.     CNH engaged in a separate unlawful scheme by which it resold non-functioning,

previously owned Module Express pickers to unsuspecting farmers as operable machines. CNH

controls the resale market for Module Express pickers through its captive dealers. Often, the CNH

dealers are the only avenue for farmers that purchased these pickers to attempt to regain some of

their losses, either by trading in for new Module Express pickers (that CNH falsely represents as

not suffering from the same flaws) or for other cotton harvesting machinery. When CNH does

buy back Module Express pickers through trade-ins, it does so at hugely depressed values from

farmers who have little to no alternative.

       52.     These previously owned pickers invariably suffer from the same repeated and

irreparable defects in design and manufacturing that caused their prior owners to get rid of them.

They did not operate as promised or required for the original owners, a fact of which CNH is well

aware given the repair orders and claims made by dealers which CNH tracks by picker serial

number through a centralized system.

       53.     Despite knowing that these specific previously owned Module Express pickers

suffered from such failings that they could not operate to pick and bale cotton, CNH takes them

from one dealer, moves them to a dealer located in another part of the country, and they represent

them to purchasers as operable, in good working order, and capable of picking and baling cotton.

These representations are false. CNH does not reveal to farmers which purchase used machines



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that they have been subject to multiple repair claims, that CNH has not been able to adequately fix

them, and that they do not operate as represented.

       54.     The Module Express 635 that CNH sold to Oakywood Farms had been previously

owned by a separate farm wholly unrelated to Oakywood Farms. That entity had made multiple

complaints of the 635’s inability to properly build cotton modules, and CNH and its agents had

been unable to unsuccessful repair this specific Module Express to a working condition.

       55.     CNH’s sales representatives assured Oakywood Farms that the Module Epxress

was in good working order and would perform to Oakywood Farms’ satisfaction; they did not

inform Oakywood Farms that it had previously had experienced numerous operational problems

and that the Module Express could not perform its most basic function properly. CNH made no

mention of any previous complaints, warranty claims, or other known problems with the Module

Express throughout negotiations Oakywood Farms.

III.   CNH Failed To Provide Parts, Manuals, And Support.

       56.     Additionally, CNH, based upon investigation, information, and belief, failed to

make and supply sufficient replacement and repair parts, manuals, and support for the Module

Express pickers. CNH represented to purchasers that the Module Express pickers could be

maintained and would remain operational throughout a typical lifespan. As is customary in the

industry, and as CNH knows, it is crucial that cotton harvesting equipment be operational during

the window necessary to harvest cotton.

       57.     CNH, through mismanagement, an attempt to limit its back-end costs for failing

pickers, or, most likely, a hidden abandonment of the Module Express it still manufactured and

sold, did not acquire or manufacture sufficient amounts of crucial replacement parts for the Module

Express pickers from at least 2012 through the present. The result was that when, inevitably,




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Module Express pickers broke down, farmers could not get them repaired quickly enough. This

is particularly problematic for cotton farming, where harvesting is weather and time sensitive and

farmers often have as few as 20 days a year to bring in their cotton crop. CNH knew that it was

unable to supply sufficient volumes of replacement parts to keep its Module Express machines

operating, but continued to sell Module Express pickers without disclosing this material fact.

Plaintiff was directly harmed as a result. CNH’s conduct was unlawful, deceptive, and unfair.

                           TOLLING AND ACRRUAL OF
                    THE APPLICABLE STATUTUES OF LIMITATION

       58.     Equitable Tolling: Plaintiffs, despite all due diligence, could not obtain vital

information relevant to the existence of the claims brought in this lawsuit. A reasonable person

would not know that the diminished value and faults in the Module Express could possibly be due

to CNH’s wrongful and intentionally wrongful conduct. Plaintiffs reasonably serviced, repaired,

and maintained his Module Express picker(s). Also as alleged above, he was assured by CNH that

the problems it was experiencing were not widespread or a result of design and manufacturing

flaws. Plaintiffs could not have discovered, through the use of reasonable diligence, that CNH’s

conduct was unlawful and actionable within the time period of any applicable statutes of limitation.

Nor could he have determined with the exercise of any reasonable diligence that the value of the

Module Express would decrease precipitously, that CNH would not provide the parts and support

necessary to maintain the Module Express pickers, or that CNH would intentionally depress the

resale value of the Module Express pickers.

       59.     Equitable Estoppel/Fraudulent Concealment: Throughout the relevant time

period, CNH actively concealed the wrongful conduct at issue in this case, failed to disclose to

Plaintiff material information concerning the defective design and manufacture of the Module

Express pickers, the inadequate service and lack of replacement parts available to repair the



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Module Express pickers, and CNH’s actions with regard to suppress the resale value of the Module

Express pickers. Upon information and belief, CNH acted knowingly and intentionally to ensure

that Plaintiffs could not discover the nature and extent of the conduct giving rise to the claims

brought herein. As a result, Plaintiffs could not have discovered their claims, the issues with the

Module Express pickers, or the conduct of CNH at issue in this litigation through the use of

reasonable efforts or reasonable diligence.

                                FIRST CLAIM FOR RELIEF
                  Violation of the Wisconsin Deceptive Trade Practices Act

       60.     All allegations and paragraphs in this complaint are incorporated by reference into

this claim.

       61.     CNH is a “person, firm, corporation or association” as defined by Wisconsin

Statutes § 100.18(1).

       62.     Plaintiffs are members of “the public” as defined by Wisconsin Statutes §

100.18(1).

       63.     With the intent to sell, distribute, or increase consumption of merchandise, services,

or anything else offered by CNH to members of the public, CNH made, published, circulated, and

placed before the public-or caused (directly or indirectly) to be made, published, circulated, placed

before the public-advertisements, announcements, statements, and representations which

contained assertions, representations, or statements of fact which are untrue, deceptive, and

misleading.

       64.     CNH also engaged in such untrue, deceptive, and misleading conduct as part of a

plan or scheme the purpose or effect of which was not to sell merchandise as advertised.

       65.     Among the untrue, deceptive, and misleading statements made by CNH to the

public with the intent to induce an obligation—specifically the purchase of a Module Express



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cotton picker—are set about above, including that the Module Express pickers are efficient, cost

effective, powerful and can operate in difficult conditions, will produce consistent well-formed

modules, require less maintenance than basket pickers, and reliable.

        66.     CNH makes these representations consistently in marketing materials,

advertisements, and in newspaper articles.

        67.     These representations are not expressions of opinion; they are specific factual

statements.

        68.     As set out above, the representations and scheme CNH enacted through them

emanated from Wisconsin. CNH controls all marketing, manufacturing, and selling of the Module

Express pickers from its corporate headquarters in Racine, Wisconsin. The representations at issue

here were “made” in Wisconsin in that CNH “caused them to exist” from Wisconsin, and they

were part of a nation-wide scheme whereby they were disseminated from Wisconsin across the

country. Each representation at issue here was made before the parties entered into a contractual

relationship to purchase the respective Module Express pickers which is the source of pecuniary

loss for Plaintiff.

        69.     The representations are untrue, deceptive and misleading, as discussed above,

because CNH acted knowingly and intentionally with the purpose of causing and inducing Plaintiff

to purchase Module Express pickers which CNH knew to be faulty, defective, and which would

not operate as promised, and which CNH knew it would not adequately provide service and parts

for future repair, and which CNH knew it would artificially depress re-purchase and trade in values

for in the future.

        70.     The representations caused a pecuniary loss to Plaintiffs, which incurred damages

as a direct result thereof. Through its conduct, CNH intended to—and in fact did—materially




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induce Plaintiffs to purchase or lease a Module Express picker which directly and proximately

resulted in pecuniary losses, including not receiving the benefit of the bargain in purchasing the

Module Express pickers, incurring transactional costs, purchasing equipment which lost value

precipitously and was not re-sellable, losing time and money through inoperable equipment,

incurring monetary costs associated with faulty equipment during harvest, and purchasing

equipment for which CNH knowingly would not provide viable repair parts or services.

       71.     Plaintiffs seek all relief allowed by law, including damages, diminution of value,

cost of repair or replacement, refund of full purchase price, attorney’s fees under Wisconsin

Statutes § 100.18(11), costs, injunctive relief, and punitive damages.

                              SECOND CLAIM FOR RELIEF
                        Breach of Implied Warranty of Merchantability

       72.      All allegations and paragraphs in this complaint are incorporated by reference into

this claim.

       73.     CNH sold goods, specifically the Module Express picker, to Plaintiffs. CNH is in

the business of manufacturing and selling such goods and does so regularly.

       74.     These goods were not merchantable at the time of sale. They were not fit for the

ordinary purpose for which such goods are used, specifically for harvesting cotton and forming it

into modules. Nor were they of average quality, as set out above.

       75.     CNH has actual knowledge of the particular defects at issue in this case through

internal communications and reports (tracking complaints from dealers detailing flaws in the

Module Express pickers), direct complaints from customers and the public, and internal testing.

CNH, at the corporate executive level, from its Racine, Wisconsin headquarters, is in constant

contact with its highly-controlled dealers, both in the United States, and in other parts of the world

in which cotton is produced and CNH sells pickers (South America, for example). CNH monitors



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cotton harvests and the operation of its pickers in such harvests and was continually aware of the

defects in the Module Express pickers. CNH received notice of the defects through complaints

received by, and repairs conducted by, their controlled dealers, who were aware of the defects in

the Module Express pickers and reported such defects to CNH. Additionally, CNH has received

actual notice through other lawsuits which address such defects.

       76.     Plaintiffs have been damaged by CNH’s breach of the implied warranty of

merchantability through purchasing and owning Module Express pickers that do not operate as

represented, were not fit for the purpose they were sold, and which lost value more quickly than

they would have otherwise.

        Any Attempt By CNH To Limit Or Waive Remedies Is Without Effect.

       77.     Any attempt by CNH to limit or waive the implied warranty of merchantability is

ineffective for two reasons. First, any express warranty that may be valid fails in its essential

purpose. CNH, given ample opportunity, repeatedly failed to adequately repair Module Express

pickers, which did not subsequently operate as equipment free of defects should operate. Any

express warranty remedies do not provide a fair quantum of remedy, as CNH could not, and would

not, and to this day cannot adequately repair or replace failing Module Express pickers, effectively

depriving Plaintiff of the benefit of the bargain. Therefore, any purported limitations of remedies

or waiver of implied warranties in any express warranty are invalid.

       78.     Second, CNH cannot limit or waive the warranty of merchantability as any such

attempts were made after contracting. When Plaintiffs purchased a Module Express picker through

a CNH dealer, they agreed to do so through initial documents which do not contain waivers and

limitations. Since the warranty that purported to limit or waive remedies or warranties and was

subsequently provided after the agreement to purchase and sell is already made, and was not




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signed, it is without legal effect.

                                THIRD CLAIM FOR RELIEF
                       Breach of the Duty of Good Faith and Fair Dealing

          79.   All allegations and paragraphs in this complaint are incorporated by reference into

this claim.

          80.   CNH entered into contracts with Plaintiffs for the sale of the Module Express

picker.

          81.   Inherent in every contract is the implied promise of good faith and fair dealing.

          82.   CNH breached the duty of good faith and fair dealing through the conduct set out

above, including by misrepresenting and failing to disclose the nature and quality of the pickers

sold, by failing to adequately supply parts and support for necessary repairs, and by manipulating

the buy-back and resale market for used pickers.

          83.   Such conduct was objectively unreasonable and evaded the spirit of the bargain

between CNH and Plaintiffs.

          84.   As a result of CNH’s misconduct and breach of good faith and fair dealing,

Plaintiffs did not receive the benefit of the bargain for which they contracted and has been

otherwise damaged.

                                 FOURTH CLAIM FOR RELIEF
                                     Unjust Enrichment

          85.   All allegations and paragraphs in this complaint are incorporated by reference into

this claim.

          86.   To the extent necessary, this count is pled in the alternative to the other counts.

          87.   CNH received money from Plaintiffs which in justice and equity it should not be

permitted to keep. The benefit conferred by Plaintiffs was non-gratuitous, CNH realized value




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from this benefit, and CNH has knowledge of that benefit. It would be inequitable for CNH to

retain this benefit without payment of the value to Plaintiffs.

                                  FIFTH CLAIM FOR RELIEF
                                           Fraud

        88.      All allegations and paragraphs in this complaint are incorporated by reference into

this claim.

        89.      The elements of common law fraud include the following: 1) the defendant made

a representation of fact to the plaintiff; 2) the representation of fact was false; 3) the plaintiff

believed and relied on the misrepresentation to her detriment or damage; 4) the defendant made

the misrepresentation with knowledge that it was false or recklessly without caring whether it was

true or false; and 5) the defendant made the misrepresentation with intent to deceive and to induce

the plaintiff to act on it to her detriment or damage. Tietsworth v. Harley-Davidson, Inc., 270 Wis.

2d 146, 157, 677 N.W.2d 233, (Wis. 2004); citing Ollerman v. O'Rourke Co., Inc., 94 Wis. 2d 17,

26, 288 N.W.2d 95 (Wis. 1980).

        90.      CNH made false representations of fact, as set out above, including that the Module

Express pickers are efficient, cost effective, powerful and can operate in difficult conditions, will

produce consistent well-formed modules, require less maintenance than basket pickers, and

reliable. CNH made such false representations in brochures, through agents, and otherwise to

Plaintiffs.

        91.      CNH made material omissions of fact, as set out above, including by failing to

disclose that the Module Express Pickers suffered from significant design and manufacture flaws

such that they did not have sufficient operational power to operate in adverse geographic or

weather conditions, would not consistently form domed, weatherable bales, would continually

break down and require more maintenance that traditional pickers, would operate less efficiently



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and require greater repair and operation costs than traditional pickers, would lose value more

quickly than they otherwise should have, and could not perform its basic function within the

reasonable expectations of previous owners.

        92.        CNH knew that these affirmations of fact are false, knew them to be false when

made, or made such misrepresentations recklessly.

        93.        CNH made such misrepresentations with the intent to deceive and induce Plaintiffs

to purchase Module Express Pickers.

        94.        Plaintiff believed and relied on CNH’s fraudulent representations and omissions

and as a direct and proximate pecuniary damages as a result.

        95.        Plaintiff has suffered pecuniary and such other and further damages as may be

proven at trial.

                                    SIXTH CLAIM FOR RELIEF
                                     Negligent Misrepresentation

        96.        All allegations and paragraphs in this complaint are incorporated by reference into

this claim.

        97.        This claim is brought in the alternative to Count V.

        98.        CNH made representations of fact, as set out above, to Plaintiff and the public.

        99.        These representations are untrue and false, and CNH was negligent in makes such

representations.

        100.       Plaintiffs relied on CNH misstatements of fact and was damaged as a direct and

proximate cause thereof.

                                       PRAYER FOR RELIEF

        Plaintiffs seek:




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      (1)    all damages not recoverable or recovered through class adjudication, including but

             not limited to direct and indirect pecuniary loss, consequential damages, and a

             refund of purchase prices;

      (2)    reasonable attorney’s fees and costs;

      (3)    injunctive relief;

      (4)    full restitution of all amounts paid to Defendant;

      (5)    punitive damages, and

      (6)    all other relief which the Court or jury should find appropriate.

                                      JURY DEMAND

      Plaintiff demands a trial of all claims by struck jury.

Dated: May 23, 2019

                                            Respectfully submitted,

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